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AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations


                                        UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
            UNITED STATES OF AMERICA                                          2nd AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                                                                              (For Offenses Committed On or After November 1, 1987)
                                  V.
            KEVIN DANIEL CEJA-CORTES (1)
                                                                                 Case Number:                3:19-CR-00904-JM

                                                                              Robert H Rexrode
                                                                              Defendant’s Attorney
REGISTRATION NO.                    73953-298
    Correction of Sentence for Clerial Mistake (Fed. R. Crim. P. 36). Correction made to reflect no term of supervised release reimposed.
‫܈‬
THE DEFENDANT:
‫ ܈‬admitted guilt to violation of allegation(s) No.                     1, 2, 3, and 4.

‫ ܆‬was found guilty in violation of allegation(s) No.                                                                      after denial of guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                       Nature of Violation

                1                       Failure to comply with drug testing requirements
                2                       Failure to complete RRC (Residential Reentry Center) placement
                3                       Failure to report change in residence/employment
                4                       Failure to report to USPO (US Probation Office)
                                        .
                                        .
     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant’s economic circumstances.

                                                                              November 5, 2021
                                                                              Date off Imposition of Sentence



                                                                              HON. JEFFREY T. MILLER
                                                                              UNITED
                                                                                 TED STATES DISTRICT JUDGE
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AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                KEVIN DANIEL CEJA-CORTES (1)                                             Judgment - Page 2 of 2
CASE NUMBER:              3:19-CR-00904-JM

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Ten (10) months.




 ‫܆‬     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ‫܆‬     The court makes the following recommendations to the Bureau of Prisons:




 ‫܆‬     The defendant is remanded to the custody of the United States Marshal.

 ‫܆‬     The defendant shall surrender to the United States Marshal for this district:
       ‫܆‬     at                             A.M.              on
       ‫܆‬     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 ‫܆‬
       Prisons:
       ‫܆‬     on or before
       ‫܆‬     as notified by the United States Marshal.
       ‫܆‬     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                   3:19-CR-00904-JM
